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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

UNITED STATES OF AMERIA,                             Civil No. 0:24-cv-02944 (KMM-JFD)

              Plaintiff,
       v.                                                    MEET AND CONFER
                                                                STATMENT
EVERGREEN RECOVERY, INC.;
EVERGREEN     MENTAL   HEALTH
SERVICES INC.; ETHOS RECOVERY
CLINIC INC.; SECOND CHANCES
RECOVERY HOUSING INC.; SECOND
CHANCES SOBER LIVING, INC.;
DAVID BACKUS; SHAWN GRYGO;
and
SHANTEL MAGADANZ,

              Defendants.


       I hereby certify that on August 6, 2024, the undersigned counsel for Defendants

Evergreen Recovery, Inc., Evergreen Mental Health Services Inc., Ethos Recovery Clinic

Inc., Second Chances Recovery Housing Inc., Second Chances Sober Living, Inc., and

Shawn Grygo (collectively, the “Evergreen Defendants”) met and conferred with

Plaintiff’s counsel by telephone to discuss Evergreen Defendants’ Motion to Continue.

Plaintiff was not willing to consent to Evergreen Defendants proposed extension, and

therefore the parties were not able to resolve the motion.



                                [Signature page to follow]




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Dated: August 6, 2024               s/ Manda M. Sertich
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                                    Attorney for Defendants Evergreen Recovery
                                    Inc., Evergreen Mental Health Services Inc.,
                                    Ethos Recovery Clinic Inc., Second Chances
                                    Recovery Housing Inc., Second Chances
                                    Sober Living, Inc., and Shawn Grygo




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